                  IN THE UNITED STATES DISTRICT COURT
                FOR MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA


         -vs-                                         Docket No. 1:19CR379-1

CHANDLER ANTWAN GIST-DAVIS,
              Defendant
____________________________________________________________________

                         NOTICE OF APPEAL



  NOW COMES Defendant, through counsel, and give Notice of Appeal from the

judgment of the Court entered November 27th, 2019.

  Defendant requests that counsel be appointed to represent him on appeal.

   Respectfully submitted, this the 28th day of November, 2019.



                                          /s/ J. Clark Fischer
                                           ________________________________
                                           J. Clark Fischer, Attorney for Defendant
                                           952 West Fourth Street
                                           Winston-Salem, NC 27101
                                            336-724-3513
                                            NCSB#9217




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                          CERTIFICATE OF SERVICE

I certify that a copy of the foregoing NOTICE OF APPEAL was served on the party
named below through the MD/ECF system:

           Ms. Kimberly Davis
           Assistant United States Attorney
           P.O. Box 1858
           Greensboro, NC 27402

 This the 28th day of November, 2019.

                                        /s/ J. Clark Fischer
                                        ________________________________
                                        J. Clark Fischer, Attorney for Defendant
                                        952 West Fourth Street
                                        Winston-Salem, NC 27101
                                         336-724-3513
                                         NCSB # 9217




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